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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OKLAHOMA


 Clifford Thomas Boles,

                                      Plaintiff(s),
 vs.                                                     Case No.: 21-cv-303-GKF-SH


 Bryan Patino et al. ,

                                    Defendant(s).



                  ORDER RESCHEDULING SETTLEMENT CONFERENCE

         Before the Court is the Joint Motion to Reschedule Settlement Conference (Dkt. # 34) in

  which the Parties seek a continuance of the Settlement Conference presently set on November 9,

  2022, before Adjunct Settlement Judge Charles (Chad) Moody . For good cause shown, the Court

  finds that the Motion should be and is hereby GRANTED.

         IT IS THEREFORE ORDERED AS FOLLOWS:

                 Plaintiff’s Settlement Conference Statement due by March 15, 2023;

                 Defendant’s Settlement Conference Statement due by March 22, 2023;

                 Settlement Conference Rescheduled for March 29, 2023 at 9:00 a.m.

         IT IS FURTHER ORDERED THAT all mandatory guidelines set forth in the Court’s

  original Settlement Conference Order shall remain in effect.

         ORDERED this 31st day of October, 2022.


                                                ________________________________________________
                                                Christine D. Little, U.S. Magistrate Judge
